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                                EXHIBIT 34



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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                                                                                                         39931585



                                   UNITED STATES DISTRICT COURT                                      Sep 20 2011
                                                                                                       7:48PM
                               EASTERN DISTRICT OF LOUISIANA


In re:         Oil Spill by the Oil Rig                 *   MDL No. 2179
               “Deepwater Horizon”                      *
               In the Gulf of Mexico,                   *   SECTION: J
               on April 20, 2010                        *
                                                        *   JUDGE BARBIER
This Document Relates to:                               *   MAGISTRATE JUDGE SHUSHAN

All Actions
* * * *            *   *   *   *    *   *   * *   * *   *


  SUPPLEMENTAL OBJECTIONS AND RESPONSES OF DEFENDANT ANADARKO
  PETROLEUM CORPORATION TO REVISIONS TO THE UNITED STATES’ FIRST
  SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS,
                   AND REQUESTS FOR ADMISSIONS

                   GENERAL OBJECTIONS AND RESERVATION OF RIGHTS

          1.       Pursuant to Rules 26, 33 and 34 of the Federal Rules of Civil Procedure,

Defendant Anadarko Petroleum Corporation (“Responding Party”), through undersigned

counsel, hereby incorporates its responses to the United States’ First Set of Interrogatories,

Requests for Production of Documents, and Requests for Admissions served on July 25, 2011,

and submits the following supplemental responses and objections to the Revisions to the United

States’ First Set of Interrogatories, Requests for Production of Documents, and Requests for

Admission (collectively “Requests”), served on Responding Party on September 9, 2011,

including the accompanying definitions and instructions, insofar as they conflict with, or purport

to impose obligations beyond those of the Federal Rules of Civil Procedure or the Rules and

Orders of this Court. Responding Party will respond to the United States’ Requests in accordance

with such Rules and Orders.

          2.       Responding Party objects to the Requests to the extent they seek documents or

information outside the scope of Pretrial Order No. 11, which provides that Phase I Discovery

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          17.    Except as noted hereinafter, Responding Party objects to the Requests as a whole

to the extent that they seek documents that came into the possession, custody, or control of

Responding Party after April 20, 2010, the date of the Incident. Responding Party objects to the

Requests to the extent they purport to require Responding Party to re-produce the document

productions of other parties that have been made in these litigations either pre- or post-

consolidation, or in connection with investigations such as that being conducted by the

Deepwater Horizon Joint Investigation Team (“MBI”).

          18.    Responding Party objects to the Requests as a whole to the extent they seek

information or documents unrelated to the Macondo Prospect, the Macondo Well known as MC

252 # 1 Macondo Well, the Deepwater Horizon’s operations at the Macondo Well, or the

Incident. Responding Party will only provide information and/or documents relating to the

Macondo Prospect, the Macondo Well, the Deepwater Horizon’s operations at the Macondo

Well, or the Incident.

          19.    Responding Party objects to the extent the United States seeks information or

documents not in the possession of Responding Party, including, but not limited to, information

or documents in the possession of outside counsel, consultants, or vendors or to the extent the

United States seeks to require Responding Party to create documents not already in existence.

          20.    These General Objections are incorporated by reference into each of the following

responses, and any objection or response by Responding Party to any instruction or request is

made without waiver of, and subject to, these General Objections.

                SPECIFIC SUPPLEMENTAL OBJECTIONS AND RESPONSES

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

Admit that an exploratory well was constructed on Macondo Prospect, the “Macondo Well.”

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RESPONSE TO REQUEST FOR ADMISSION NO. 1:

          Responding Party incorporates its General Objections. Responding Party also objects to

this Request for Admission (“RFA”) because the undefined terms “exploratory well” and

“constructed” are vague and ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Admit.

REQUEST FOR ADMISSION NO. 2:

Admit that the Macondo Well is located on the Outer Continental Shelf approximately 50 miles

from the Mississippi River delta.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

          Responding Party incorporates its General Objections.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Admit.

REQUEST FOR ADMISSION NO. 3:

Admit that strings of casing, cement, production casing, casing hanger, casing accessories, and

the well head were installed in the Macondo Well prior to April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

          Responding Party incorporates its General Objections. Responding Party also objects to

this RFA because the undefined term “casing accessories” is vague and ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Admit.

REQUEST FOR ADMISSION NO. 4:

Admit that there was a loss of well control and a blowout of the Macondo Well on or about April

20, 2010.

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RESPONSE TO REQUEST FOR ADMISSION NO. 4:

          Responding Party incorporates its General Objections.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Admit.

REQUEST FOR ADMISSION NO. 5:

Admit that oil flowed from the Macondo Well into the Gulf of Mexico within 200 nautical miles

of the United States’ coastline following the blowout on April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. In addition, Responding Party objects to this RFA because the

undefined phrases “flowed from the Macondo Well” and “following the blowout” are vague and

ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Deny.

                         RESPONSE TO INTERROGATORY NO. 2(a):

          Responding Party denies RFA No. 5 because, based on the discovery to date, the oil

discharged from the Deepwater Horizon and its appurtenances, e.g., the blowout preventer and

riser.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 5:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party admits that oil from the

MC 252 reservoir flowed through the Macondo Well and was discharged to the Gulf of Mexico

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from the Deepwater Horizon and then from the broken riser pipe and/or BOP after the

Deepwater Horizon’s sinking. Responding Party admits that, in some areas, oil migrated to

within 200 nautical miles of the United State’s coastline.       Except as expressly admitted,

Responding Party denies this RFA.

REQUEST FOR ADMISSION NO. 6:

Admit that oil flowed from the Macondo Well into the Gulf of Mexico for several months

following April 20, 2010 until the Macondo Well was finally capped on July 15, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 6:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party objects to this RFA because the undefined

phrase “flowed from the Macondo Well” is vague and ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain, Responding Party responds as follows: Deny.

                        RESPONSE TO INTERROGATORY NO. 2(b):

          Responding Party denies RFA No. 6 because, based on the discovery to date, the oil

discharged from the Deepwater Horizon and its appurtenances, e.g., the blowout preventer and

riser.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 6:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party admits that oil from the

MC 252 reservoir flowed through the Macondo Well and was discharged to the Gulf of Mexico

from the Deepwater Horizon and then from the broken riser pipe and/or BOP after the

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Deepwater Horizon’s sinking. Responding Party admits that the oil flowed from April 20, 2010

until July 15, 2010. Except as expressly admitted, Responding Party denies this RFA.

REQUEST FOR ADMISSION NO. 7:

Admit that the oil discharged from the Macondo Well caused a film or sheen or discoloration on

the surface of the waters of the Gulf of Mexico.

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to this RFA because the

undefined phrases “discharged from the Macondo Well” and “film or sheen or discoloration” are

vague and ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain and after conducting a reasonable inquiry from third parties, Responding Party

responds as follows: Deny.

                        RESPONSE TO INTERROGATORY NO. 2(c):

          Responding Party denies RFA No. 7 because, based on the discovery to date, the oil

discharged from the Deepwater Horizon and its appurtenances, e.g., the blowout preventer and

riser. Responding Party also denies that all waters of the Gulf of Mexico were impacted by a

“film or sheen or discoloration.” Responding Party admits that there was a film, sheen or

discoloration on the surface of some portions of the waters of the Gulf of Mexico.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 7:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party admits that oil from the

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MC 252 reservoir flowed through the Macondo Well and was discharged to the Gulf of Mexico

from the Deepwater Horizon and then from the broken riser pipe and/or BOP after the

Deepwater Horizon’s sinking.       Responding Party admits that there was a film, sheen or

discoloration on the surface of some portions of the waters of the Gulf of Mexico. Except as

expressly admitted, Responding Party denies this RFA.

REQUEST FOR ADMISSION NO. 8:

Admit that oil from the Macondo well spread through the waters of the Gulf of Mexico to within

3 miles of the coastline of the United States and onto adjoining shorelines.

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to this RFA because the

undefined phrases “from the Macondo Well,” “spread through the waters of the Gulf of Mexico,”

and “adjoining shorelines” are vague and ambiguous.

          Subject to and without waiving these objections, based on information available in the

public domain and after conducting a reasonable inquiry from third parties, Responding Party

responds as follows: Deny.

                        RESPONSE TO INTERROGATORY NO. 2(d):

          Responding Party denies RFA No. 8 because, based on the discovery to date, the oil

discharged from the Deepwater Horizon and its appurtenances, e.g., the blowout preventer and

riser. Further, Responding Party denies RFA No. 8 because the oil impacted only a portion of

the waters within the Gulf of Mexico. Based on information available in the public domain,

Responding Party admits that in some areas oil migrated to within 3 miles of the coastline of the

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United States and in some areas it migrated onto shorelines.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 8:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party admits that oil from the

MC 252 reservoir flowed through the Macondo Well and was discharged to the Gulf of Mexico

from the Deepwater Horizon and then from the broken riser pipe and/or BOP after the

Deepwater Horizon’s sinking. Responding Party admits that in some areas oil migrated to

within 3 miles of the coastline of the United States and in some areas it migrated onto shorelines.

Except as expressly admitted, Responding Party denies this RFA.

REQUEST FOR ADMISSION NO. 9:

Admit that as of April 20, 2010, MMS had not approved the AEP assignment of its interest in the

Lease to APC.

RESPONSE TO REQUEST FOR ADMISSION NO. 9:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party objects to this RFA because it calls for a

legal conclusion.     Responding Party also objects to this RFA because it goes beyond the

Casualty, Spill and Limitations issues as identified in Pretrial Order No. 11.

          Subject to and without waiving these objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(e):

          Responding Party denies RFA No. 9 because MMS’s approval of the AEP assignment to

APC deemed the assignment effective as of April 1, 2010 per MMS regulations, based on MMS

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Canyon 252 Lease following the April 20, 2010 Incident to the date of the capping of the Well

and because, based on the discovery to date, the oil discharged from the Deepwater Horizon and

its appurtenances, e.g., the blowout preventer and riser. AEP assigned its interest in Lease No.

OCS-G 32306 to APC, effective April 1, 2010. Responding Party admits that APC was a lessee

of the Mississippi Canyon 252 Lease following the April 20, 2010 Incident to the date of the

capping of the Well. See also Responding Party’s response to RFA No. 9.

REQUEST FOR ADMISSION NO. 11:

Admit that You paid invoices from BP for the costs of the components that were installed in the

Macondo Well, including the strings of casing, cement, production casing, casing hanger, casing

accessories, and the well head.

RESPONSE TO REQUEST FOR ADMISSION NO. 11:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to the defined term “You” as

overly broad, confusing, beyond the scope of this litigation, not reasonably calculated to lead to

the discovery of admissible evidence, and compound because “You” is defined as “Anadarko

Petroleum Corporation” and “Anadarko Petroleum Corporation” is defined to include “relevant

predecessors, successors, subsidiaries” which may then include AEP. Responding Party also

objects because the undefined terms “costs,” “components,” and “casing accessories” are vague

and ambiguous. Responding Party also objects to this RFA to the extent it goes beyond the

Casualty, Spill and Limitations issues as identified in Pretrial Order No. 11.

          Subject to and without waiving these objections, Responding Party responds as follows:

Deny.

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                         RESPONSE TO INTERROGATORY NO. 2(g):

           Responding Party denies RFA No. 11 because AEP did not pay invoices from BP for the

costs of the components that were installed in the Macondo Well. APC made payments on

certain Joint Interest Billing invoices (“JIBs”) from BP which provide a description of the items

covered as set forth therein. APC refers the United States to the JIBs. Persons with knowledge

of certain facts that support Responding Party’s response to RFA No. 11 include Jim Bryan and

Jerry Byrd. Documents that support Responding Party’s response to RFA No. 11 include certain

JIBs, Bates Nos. ANA-MDL-000230694 through ANA-MDL-000230693; ANA-MDL-

000230696 through ANA-MDL-000230695; ANA-MDL-000230698 through ANA-MDL-

000230697; and ANA-MDL-000230700 through ANA-MDL-000230699. See also Responding

Party’s Response to Interrogatory No. 18.

REQUEST FOR ADMISSION NO. 12:

Admit that You are a partial owner of the components that were installed in the Macondo Well,

including the strings of casing, cement, production casing, casing hanger, and the well head.

RESPONSE TO REQUEST FOR ADMISSION NO. 12:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to this RFA because it calls for

a legal conclusion. Responding Party also objects to the defined term “You” as overly broad,

confusing, beyond the scope of this litigation, not reasonably calculated to lead to the discovery

of admissible evidence, and compound because “You” is defined as “Anadarko Petroleum

Corporation” and “Anadarko Petroleum Corporation” is defined to include “relevant

predecessors, successors, subsidiaries” which may then include AEP. Responding Party also

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objects because the undefined terms “partial owner” and “components” are vague and

ambiguous.      Responding Party also objects to this RFA to the extent it calls for a legal

conclusion.

          Subject to and without waiving these objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(h):

          Responding Party denies RFA No. 12 because the Lease Exchange Agreement did not

create an ownership interest in the components or parts that were installed in the Macondo Well.

APC directs the United States to the Operating Agreement, the Lease Exchange Agreement and

the Well Participation Agreement, all of which have been produced in this litigation. See also

Responding Party’s response to RFA No. 11.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 12:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party denies RFA No. 12 on

behalf of AEP because AEP is not a partial owner in the components that were installed in the

Macondo Well. Responding Party denies RFA No. 12 on behalf of APC because the Lease

Exchange Agreement did not create an ownership interest in the components or parts that were

installed in the Macondo Well. APC did, however, sign the Well Participation Agreement which

indicates that APC has agreed to participate in the Initial Exploratory Well.          The Initial

Exploratory Well was defined as “consist[ing] of all tangible personal property in the well.”

REQUEST FOR ADMISSION NO. 13:

Admit that You are partial owner of tangible personal property comprising the Macondo Well.

RESPONSE TO REQUEST FOR ADMISSION NO. 13:

          Responding Party incorporates its General Objections. Responding Party further objects

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to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to this RFA because it calls for

a legal conclusion. Responding Party also objects to the defined term “You” as overly broad,

confusing, beyond the scope of this litigation, not reasonably calculated to lead to the discovery

of admissible evidence, and compound because “You” is defined as “Anadarko Petroleum

Corporation” and “Anadarko Petroleum Corporation” is defined to include “relevant

predecessors, successors, subsidiaries” which may then include AEP. Responding Party objects

to this RFA to the extent it calls for a legal conclusion. Responding Party also objects to this

RFA because the undefined phrases “partial owner” and “tangible personal property” are vague

and ambiguous.

          Subject to and without waiving these objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(i):

          Responding Party denies RFA No. 13 because the Lease Exchange Agreement did not

create an ownership interest in the components or parts that were installed in the Macondo Well.

APC directs the United States to the Operating Agreement, the Lease Exchange Agreement and

the Well Participation Agreement, all of which have been produced in this litigation. See also

Responding Party’s response to RFA No. 11.

SUPPLEMENTAL RESPONSE TO REQUEST FOR ADMISSION NO. 13:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: Responding Party denies RFA No. 13 on

behalf of AEP because AEP is not a partial owner in the tangible personal property comprising

the Macondo Well. Responding Party admits RFA No. 13 on behalf of APC.

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in the Macondo Prospect Area…” BP submitted joint interest billing invoices to APC alone for a

full 25% working interest share of the costs associated with the Macondo Well, and to the extent

that APC paid those invoices it did so solely on its own behalf.

REQUEST FOR ADMISSION NO. 24:

Admit that Alan O’Donnell was an employee of APC between January 2010 and the time of the

Macondo Well Incident on April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 24:

          Responding Party incorporates its General Objections. Responding Party also objects to

this RFA to the extent it goes beyond the Casualty, Spill and Limitations issues as identified in

Pretrial Order No. 11.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 25:

Admit that Alan O’Donnell was not an employee of AEP between December 2009 and the time

of the Macondo Well Incident on April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 25:

          Responding Party incorporates its General Objections. Responding Party also objects to

this RFA to the extent it goes beyond the Casualty, Spill and Limitations issues as identified in

Pretrial Order No. 11.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 26:

Admit that Alan O’Donnell, on behalf of AEP, signed an Authorization for Expenditure on [sic]

for the Macondo Well on April 15, 2010.

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RESPONSE TO REQUEST FOR ADMISSION NO. 26:

          Responding Party incorporates its General Objections. Responding Party further objects

to this RFA to the extent that it seeks disclosure of information protected by the attorney-client

privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to this Request to the extent it

goes beyond the Casualty, Spill and Limitations issues as identified in Pretrial Order No. 11.

Responding Party also objects because the undefined phrase “took action on behalf of AEP” is

vague and ambiguous.

          Subject to and without waiving these objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 27:

Admit that Stuart Strife was an employee of APC between December 2009 and the time of the

Macondo Well Incident on April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 27:

          Responding Party incorporates it General Objections. Responding Party also objects to

this RFA to the extent it goes beyond the Casualty, Spill and Limitations issues as identified in

Pretrial Order No. 11.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 28:

Admit that Stuart Strife was not an employee of AEP between December 2009 and the time of

the Macondo Well Incident on April 20, 2010.

RESPONSE TO REQUEST FOR ADMISSION NO. 28:

          Responding Party incorporates its General Objections. Responding Party also objects to

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Admit.

REQUEST FOR ADMISSION NO. 33:

Admit that document Bates Nos. APC-HECI-000001601 through APC-HECI-000001840 is a

true, complete and accurate copy of the Macondo Prospect Joint Operating Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 33:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(v):

          Responding Party denies RFA No. 33 because the RFA mis-cites the Bates prefix. The

correct Bates Nos. that provide a true, complete and accurate copy of Macondo Prospect Joint

Operating Agreement are Bates Nos. APC-HEC1-000001601 through APC-HEC1-000001840.

REQUEST FOR ADMISSION NO. 34:

Admit that document Bates Nos. APC-MDL-000030610 through APC-MDL-000030612 is a

true, complete and accurate copy of Anadarko’s Ratification and Joinder of the Joint Operating

Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 34:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Deny.

                        RESPONSE TO INTERROGATORY NO. 2(w):

          Responding Party denies RFA No. 34 because the RFA mis-cites the Bates prefix. The

correct Bates Nos. that provide a true, complete and accurate copy of Anadarko’s Ratification

and Joinder of the Joint Operating Agreement are Bates Nos. ANA-MDL-000030610 through

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ANA-MDL-000030612.

REQUEST FOR ADMISSION NO. 35:

Admit that document Bates Nos. APC-MDL-000030613 through APC-MDL-000030650 is a

true, complete and accurate copy of the Well Participation Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 35:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(x):

          Responding Party denies RFA No. 35 because the RFA mis-cites the Bates prefix. The

correct Bates Nos. that provide a true, complete and accurate copy of the Well Participation

Agreement are Bates Nos. ANA-MDL-000030613 through ANA-MDL-000030650.

REQUEST FOR ADMISSION NO. 36:

Admit that document Bates Nos. APC-MDL-000030651 through APC-MDL-000030681 is a

true, complete and accurate copy of the Lease Exchange Agreement.

RESPONSE TO REQUEST FOR ADMISSION NO. 36:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Deny.

                         RESPONSE TO INTERROGATORY NO. 2(y):

          Responding Party denies RFA No. 37 because the RFA mis-cites the Bates prefix. The

correct Bates Nos. that provide a true, complete and accurate copy of the Lease Exchange

Agreement are Bates Nos. ANA-MDL-000030651 through ANA-MDL-000030681.



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REQUEST FOR ADMISSION NO. 37:

Admit that document Bates Nos. APC-SHS2A-00001082 through APC-SHS2A-00001084 is a

true, complete and accurate copy of the initial Authorization for Expenditure.

RESPONSE TO REQUEST FOR ADMISSION NO. 37:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 38:

Admit that document Bates No. ANA-MDL-000030714 is a true, complete and accurate copy of

the first Supplemental Authorization for Expenditure.

RESPONSE TO REQUEST FOR ADMISSION NO. 38:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 39:

Admit that document Bates No. ANA-MDL-000030690 is a true, complete and accurate copy of

the second Supplemental Authorization for Expenditure.

RESPONSE TO REQUEST FOR ADMISSION NO. 39:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

REQUEST FOR ADMISSION NO. 40:

Admit that documents Bates Nos. ANA-MDL-000030727 and ANA-MDL-000030728 are true,

complete and accurate copies of the Authorization for Expenditure for the Production Casing and

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Lock Down Sleeve purchase and installation.

RESPONSE TO REQUEST FOR ADMISSION NO. 40:

          Responding Party incorporates its General Objections.

          Subject to and without waiving its objections, Responding Party responds as follows:

Admit.

                                      INTERROGATORIES

INTERROGATORY NO. 1:

Identify each and every Person who participated in answering these interrogatories, indicating

the number of each interrogatory for which each Person supplied Information.

RESPONSE TO INTERROGATORY NO. 1:

          Responding Party incorporates its General Objections.   Responding Party further objects

to this Interrogatory to the extent that it seeks disclosure of information protected by the

attorney-client privilege, the attorney work product doctrine, the common interest principle or

any other applicable privilege or protection. In addition, Responding Party objects to this

Interrogatory to the extent that it is overly broad, unduly burdensome, and not reasonably

calculated to lead to the discovery of admissible evidence. Responding Party also objects to this

Interrogatory because the undefined term “participated” is vague and ambiguous.

          Subject to and without waiving these objections, Responding Party responds as follows:

Responding Party’s responses were prepared with the assistance of counsel.

INTERROGATORY NO. 2:

For any response to Plaintiff United States’ Requests to Admit other than an unqualified

admission, please state the basis for Your response, state each fact in support of Your response,

Identify each Person with knowledge of each such fact, and Identify each document that supports

Your response.

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Responding Party relied on its knowledge of BP’s reputation and experience with drilling

deepwater wells in the Gulf of Mexico in general, and specifically in the region around

Mississippi Canyon 252; BP’s safety awards from the government; and Responding Party’s past

experience with BP as operator. Responding Party did not perform additional due diligence with

respect to BP related to Health, Safety or Environment prior to entering into the Lease Exchange

Agreement with BP.

INTERROGATORY NO. 17:

Identify all agreements for payment, cash calls, calls for future payments, invoices or joint

interest billings (JIB) (collectively, “request for payment”) that BP sent Anadarko pursuant to the

Joint Operating Agreement, and for each request for payment, describe when Anadarko received

the request for payment, how it was transmitted, and for what services or costs the request was

made.

RESPONSE TO INTERROGATORY NO. 17:

          Responding Party incorporates its General Objections. Responding Party further objects

to this Interrogatory to the extent that it seeks disclosure of information protected by the

attorney-client privilege, the attorney work product doctrine, the common interest principle or

any other applicable privilege or protection. Responding Party also objects to the defined term

“Anadarko” as overly broad, confusing, beyond the scope of this litigation and not reasonably

calculated to lead to the discovery of admissible evidence. Responding Party also objects to this

Interrogatory to the extent it goes beyond the Casualty, Spill and Limitations issues as identified

in Pretrial Order No. 11.

          Subject to and without waiving these objections, Responding Party responds as follows:

BP sent requests for payment to APC, but none to AEP. The Bates Nos. for these documents are

as follows:

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Invoice Period       Services and Costs             Bates Number
01, 2010             MC BLK 252 Cash Call           BP-HZN-2179MDL2752577 through
                     Request for 003 / 2010:        BP-HZN-2179MDL2752582
Invoice:             $5,200,000.00
0120100070003670
Venture: 199381
2, 2010              MC BLK 252 Basic               BP-HZN-2179MDL02379545 through
                     Ownership Cash Call            BP-HZN-2179MDL02379548
Invoice:             Request for 004 / 2010:
0120100070003670     $10,094,494.00
Venture: 199381
3, 2010              MC BLK 252 Basic               BP-HZN-2179MDL02379484 through
                     Ownership Cash Call            BP-HZN-2179MDL02379489
Invoice:             Request for 005 / 2010:
0120100070003670     $12,908,570.86
Venture: 199381
4, 2010              MC BLK 252 Basic               BP-HZN-2179MDL02379499 through
                     Ownership Cash Call            BP-HZN-2179MDL02379504
Invoice:             Request for 006 / 2010:
0120100070003670     $6,864,000.00
Venture: 199381
5, 2010              MC BLK 252 Basic               ANA-MDL-000073379 through ANA-
                     Ownership Cash Call            MDL-000073383
Invoice:             Request for 007 / 2010:
0120100070003670     $168,888,992.61
Venture: 199381
6, 2010              MC BLK 252 Basic               ANA-MDL-000230558 through ANA-
                     Ownership Cash Call            MDL-000230564
Invoice:             Request for 008 / 2010:
0120100070003670     $465,132,490.88
Venture: 199381
July 2010            MC BLK 252 Basic               ANA-MDL-000199705 through ANA-
                     Ownership/DW/Cash Call:        MDL-000199711
JIB                  $1,235,856,665.29
Invoice No.
072010070003670
8, 2010              MC BLK 252 Basic               ANA-MDL-000184856 through ANA-
                     Ownership Cash Call            MDL-000184862
Invoice:             Request for 010 / 2010:
0120100070003670     $522,080,000.00
Venture: 199381002
September 2010       MC BLK 252 Basic               ANA-MDL-000230582 through ANA-
                     Ownership/DW/Cash Call:        MDL-000230587
JIB                  $1,068,449,379.54
Invoice No.
0920100070003670

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10, 2010                 MC BLK 252 Basic               ANA-MDL-000198029 through ANA-
                         Ownership Cash Call            MDL-000198049
Invoice:                 Request for 012 / 2010:
0120100070003670         $77,639,005.88
Venture: 199381002
11, 2010                 MC BLK 252 Basic               ANA-MDL-000230599 through ANA-
                         Ownership Cash Call            MDL-000230636
Invoice:                 Request for 001 / 2011:
0120100070003670         $190,581,661.05
Venture: 199381002
12, 2010                 MC BLK 252 Basic               ANA-MDL-000230637 through ANA-
                         Ownership Cash Call            MDL-000230692
Invoice:                 Request for 002 / 2011:
0120100070003670         $170,459,434.94
Venture: 199381002
All non-privileged or otherwise non-protected documents referenced in this Interrogatory

response related to the Macondo Well have been produced.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 17:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows: BP sent requests for payment to APC, but

none to AEP. The Bates Nos. for these documents are as follows:

Invoice Period           Services and Costs                       Bates Number
01, 2010                 MC BLK 252 Cash Call Request for         BP-HZN-2179MDL2752577
                         003 / 2010: $5,200,000.00                through BP-HZN-
Invoice:                                                          2179MDL2752582
0120100070003670         (Total Invoice Amount: $21,084,117.60)
Venture: 199381
2, 2010                  MC BLK 252 Basic Ownership               BP-HZN-2179MDL02379545
                         Cash Call Request for 004 / 2010:        through BP-HZN-
Invoice:                 $10,094,494.00                           2179MDL02379548
0220100070003670
Venture: 199381          (Total Invoice Amount:
                         $14,458,349.04)
3, 2010                  MC BLK 252 Basic Ownership               BP-HZN-2179MDL02379484
                         Cash Call Request for 005 / 2010:        through BP-HZN-
Invoice:                 $8,704,763.00                            2179MDL02379489
0320100070003670
Venture: 199381          (Total Invoice Amount: $16,412,588.01)
4, 2010                  MC BLK 252 Basic Ownership               BP-HZN-2179MDL02379499
                         Cash Call Request for 006 / 2010:        through BP-HZN-
Invoice:                 $6,864,000.00                            2179MDL02379504
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0420100070003670
Venture: 199381      (Total Invoice Amount: $1,234,812.55)
5, 2010              MC BLK 252 Basic Ownership              ANA-MDL-000073379
                     Cash Call Request for 007 / 2010:       through ANA-MDL-
Invoice:             $168,888,992.61                         000073383
0520100070003670
Venture: 199381      (Total Invoice Amount:
                     $272,203.375.09)
6, 2010              MC BLK 252 Basic Ownership              ANA-MDL-000230558
                     Cash Call Request for 008 / 2010:       through ANA-MDL-
Invoice:             $465,132,490.88                         000230564
0620100070003670
Venture: 199381      (Total Invoice Amount:
                     $919,395,530.30)
July 2010            MC BLK 252 Basic                        ANA-MDL-000199705
                     Ownership/DW/Cash Call:                 through ANA-MDL-
JIB                  $1,235,856,665.29                       000199711
Invoice No.
072010070003670      (Total Invoice Amount:
                     $1,235,856,665.29)
8, 2010              MC BLK 252 Basic Ownership              ANA-MDL-000184856
                     Cash Call Request for 010 / 2010:       through ANA-MDL-
Invoice:             $522,080,000.00                         000184862
0920100070003670
Venture: 199381002   (Total Invoice Amount:
                     $1,241,977,072.29)
September 2010       MC BLK 252 Basic                        ANA-MDL-000230582
                     Ownership/DW/Cash Call:                 through ANA-MDL-
JIB                  $1,068,449,379.54                       000230587
Invoice No.
0920100070003670     (Total Invoice Amount:
                     $1,068,449,379.54)
10, 2010             MC BLK 252 Basic Ownership              ANA-MDL-000198029
                     Cash Call Request for 012 / 2010:       through ANA-MDL-
Invoice:             $77,639,005.88                          000198049
1020100070003670
Venture: 199381002   (Total Invoice Amount:
                     $586,758,256.39)
11, 2010             MC BLK 252 Basic Ownership              ANA-MDL-000230599
                     Cash Call Request for 001 / 2011:       through ANA-MDL-
Invoice:             $190,581,661.05                         000230636
1120100070003670
Venture: 199381002   (Total Invoice Amount:
                     $666.730,023.52)
12, 2010             MC BLK 252 Basic Ownership              ANA-MDL-000230637
                     Cash Call Request for 002 / 2011:       through ANA-MDL-
Invoice:             $170,459,434.94                         000230692
1220100070003670
                                              53
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Venture: 199381002 (Total Invoice Amount: $1.282.562.19)
All non-privileged or otherwise non-protected documents referenced in this Interrogatory

response related to the Macondo Well have been produced.

INTERROGATORY NO. 18:

Identify all payments made by Anadarko to BP related to the Macondo Prospect and for each

such payment, describe when Anadarko made the payment, which Anadarko entity made the

payment, how the payment was transmitted or tendered, to which request for payment it

corresponded, and for what services, costs or other purposes the payment was made.

RESPONSE TO INTERROGATORY NO. 18:

          Responding Party incorporates its General Objections.   Responding Party further objects

to this Interrogatory to the extent that it seeks disclosure of information protected by the

attorney-client privilege, the attorney work product doctrine, the common interest principle or

any other applicable privilege or protection. Responding Party also objects to the defined term

“Anadarko” as overly broad, confusing, beyond the scope of this litigation and not reasonably

calculated to lead to the discovery of admissible evidence. Responding Party also objects to this

Interrogatory to the extent it goes beyond the Casualty, Spill and Limitations issues as identified

in Pretrial Order No. 11.

          Subject to and without waiving these objections, Responding Party responds as follows:

All non-privileged or otherwise non-protected responsive documents reflecting payments made

by APC related to the Macondo Prospect have been produced. The Bates Nos. for these

documents are as follows:

Payment Date        Payment Made By       Amount             Bates Number
2/26/2010           APC                   $21,084,117.60     ANA-MDL-000230694 through
                                                             ANA-MDL-000230693
3/25/2010           APC                   $14,458,349.04     ANA-MDL-000230696 through
                                                             ANA-MDL-000230695
4/23/2010           APC                   $16,412,588.01     ANA-MDL-000230698 through
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                                                            ANA-MDL-000230697
6/1/2010           APC                   $1,154,732.56      ANA-MDL-000230700 through
                                                            ANA-MDL-000230699


SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 18:

          Subject to and without waiving its General Objections and the specific objections set

forth above, Responding Party responds as follows:

Payment          Payment Supplemental                 Amount            Bates Number
Date             Made By Information
2/26/2010        APC     Ref. Doc.                    $21,084,117.60    ANA-MDL-
                         400000722                                      000230694 through
                                                                        ANA-MDL-
                            Invoice                                     000230693
                            Reference Number
                            00700036700110
                            0120100070003670

                            Ref. Date
                            02/06/2010
3/25/2010        APC        Ref. Doc.                 $14,458,349.04    ANA-MDL-
                            400000617                                   000230696 through
                                                                        ANA-MDL-
                            Invoice                                     000230695
                            Reference Number
                            00700036700210
                            0220100070003670

                            Ref. Date
                            03/10/2010
4/23/2010        APC        Ref. Doc.                 $16,412,588.01    ANA-MDL-
                            400000753                                   000230698 through
                                                                        ANA-MDL-
                            Invoice                                     000230697
                            Reference Number
                            00700036700310
                            0320100070003670

                            Ref. Date
                            04/06/2010
6/1/2010         APC        Ref. Doc.                 $1,154,732.56     ANA-MDL-
                            400001947                                   000230700 through
                                                                        ANA-MDL-
                            Invoice                                     000230699
                                               55
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                             Reference Number
                             00700036700410
                             0420100070003670

                             Ref. Date
                             05/11/2010


INTERROGATORY NO. 19:

Identify any Anadarko employees, consultants or contractors who were assigned to monitor or

did monitor drilling operations at the Macondo Well.

RESPONSE TO INTERROGATORY NO. 19:

          Responding Party incorporates its General Objections. Responding Party further objects

to this Interrogatory to the extent that it seeks disclosure of information protected by the

attorney-client privilege, the attorney work product doctrine, the common interest principle or

any other applicable privilege or protection. Responding Party also objects to the defined term

“Anadarko” as overly broad, confusing, beyond the scope of this litigation and not reasonably

calculated to lead to the discovery of admissible evidence. In addition, as a non-operator,

Responding Party never operated or controlled any aspect of any operations at the Macondo

Well. Responding Party also objects to this Interrogatory to the extent it goes beyond the

Casualty, Spill and Limitations issues as identified in Pretrial Order No. 11. Responding Party

also objects because the undefined phrase “monitor drilling operations” is vague and ambiguous.

          Subject to and without waiving these objections, Responding Party responds as follows:

As a non-operating party, Responding Party did not assign any employees, consultants or

contractors to perform or monitor drilling operations at the Macondo Well as Responding Party

understands the phrase “monitor drilling operations.” See also Responding Party’s response to

Interrogatory No. 2(m).



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RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

          Responding Party incorporates its General Objections. Responding Party further objects

to this Request to the extent that it seeks disclosure of information protected by the attorney-

client privilege, the attorney work product doctrine, the common interest principle or any other

applicable privilege or protection. Responding Party also objects to the defined term “You” as

overly broad, confusing, beyond the scope of this litigation, not reasonably calculated to lead to

the discovery of admissible evidence, and compound because “You” is defined as “Anadarko

Petroleum Corporation” and “Anadarko Petroleum Corporation” is defined to include “relevant

predecessors, successors, subsidiaries” which may then include AEP.       Responding Party also

objects to this Request to the extent it seeks premature expert discovery. Responding Party also

objects to this Request to the extent it goes beyond the Casualty, Spill and Limitations issues as

identified in Pretrial Order No. 11.

          Subject to and without waiving these objections, as a non-operator, Responding Party

will produce non-privileged or otherwise non-protected responsive documents related to the

Macondo Well, if any, that have not already been produced in this litigation and that are within

the scope of the discovery permitted by Pretrial Order No. 11.



Dated: September 20, 2011                            Respectfully submitted,

                                                            /s/ Ky E. Kirby ________________

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                                 CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing Supplemental Objections and Responses of

Anadarko to Revisions to United States First Set of Interrogatories, Requests for Production of

Documents, and Requests for Admission (collectively “Requests”), dated September 9, 2011 has

been served on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in

accordance with Pretrial Order No. 12, on this 20th day of September, 2011.


                                              __________/s/_Ky E. Kirby____________




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